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 5   Attorney for Defendant, DANIEL BOOBAR
 6
 7
                             IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                           EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,           )               CASE NO. CR-F-02-5301 OWW
11                                       )
                 Plaintiff,              )
12                                       )               STIPULATION AND ORDER FOR A
     vs.                                 )               RESETTING OF HEARING ON REPORT
13                                       )               OF PROBATION OFFICER AND
     DANIEL BOOBAR,                      )               PRESENTENCE MOTIONS
14                                       )
                 Defendants.             )
15   ____________________________________)
16
               IT IS HEREBY STIPULATED by and between Plaintiff, the United States of
17
     America, and the Defendant, by and through his attorney, that the date set for hearing on
18
     presentence motions and the presentence report of the probation officer and sentencing be
19
     extended as follows:
20
               Defense Counsel’s Informal Objections due to Probation and AUSA:
21             by October 24, 2005.
22             Motions and Formal Objections must be filed with the Court and served on
               Probation and AUSA: by November 7, 2005, and Governments reply will be filed
23             by November 21, 2005.
24             Motions and RPO Hearing: will move from October 24, 2005, at 1:30 p.m. to
               December 5, 2005, at 1:30 p.m.
25
               The parties also agree that any delay resulting from this continuance shall be
26
     excluded in the interest of justice pursuant to 18 U.S.C. sections 3161(h)(1)(F),
27
     3161(h)(8)(A) and 3161(h)(8)(B)(I).
28   ///


     U.S. vs. Boob ar, et al.                                 Stipulation and Order for a resetting of Hearing
     C ase N o. C R-F - 0 2-5 30 1 O W W                      Of Hea ring on Report of Probation Officer
        Case 1:02-cr-05301-DAD Document 456 Filed 10/27/05 Page 2 of 2


 1             On August 15, 2005, Defendants Motion for Discovery Related to Sentencing Issues
 2   was heard, at which time the Court set a compliance date for production of such discovery
 3   for three (3) weeks, to wit September 5, 2005. As of this date, the Government is still in the
 4   process of compiling the discovery.
 5             Therefore, good cause exists for this continuance in order to allow the government
 6   additional time to provide the defense with pre-sentence related discovery from the U.S.
 7   Customs as previously ordered on August 15, 2005. The new compliance date is Friday,
 8   September 30, 2005.
 9
10
11
12   DATED: October 20, 2005                    Respectfully submitted,
13
14                                              /s/ Eric K. Fogderude
                                                ERIC K. FOGDERUDE
15                                              Attorney for Defendant,
                                                DANIEL BOOBAR
16
17
18
                                                /s/ Jon Conklin
19   DATED: _10-20-05
                                                JON CONKLIN
20                                              Assistant United States Attorney
21
22                                               ORDER
23
               IT IS SO ORDERED.
24
25                                              /s/ OLIVER W. WANGER
     DATED: ___October 25, 2005                 ________________________________________
26                                              HONORABLE OLIVER W. WANGER
                                                United States District Court Judge,
27                                              Eastern District of California
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     U.S. vs. Boob ar, et al.                             Stipulation and Order for a resetting of Hearing
     C ase N o. C R-F - 0 2-5 30 1 O W W            2     Of Hea ring on Report of Probation Officer
